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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KALIMAH ALI,

                           Plaintiff,
                                                       19 Civ. 2422 (KPF)
                    -v.-
                                                             ORDER
DAINESE USA, INC., ALBERTO
RUBIO, and HECTOR HERNANDEZ,

                           Defendants.

KATHERINE POLK FAILLA, District Judge:

      The Court entered a Civil Case Management Plan and Scheduling Order in this

case on December 16, 2019, that set the deadline for fact discovery as April 12, 2020.

(Dkt. #28). The parties filed a joint letter motion on April 24, 2020, requesting an

extension of the discovery deadlines. (Dkt. #29). Mindful of difficulties occasioned by

the COVID-19 pandemic, the Court granted the extension and entered a revised Civil

Case Management Plan and Scheduling Order on April 27, 2020, resetting the fact

discovery deadline to September 9, 2020. (Dkt. #29-30). In effect, the Court more

than doubled the time allotted to the parties for fact discovery.

      On September 8, 2020, Plaintiff filed a consent motion for a second extension

of the discovery deadlines. (Dkt. #39). The Court again granted the extension, but

noted its dismay with Plaintiff’s disregard for the Court’s deadlines and stated that no

further discovery extensions would be granted. (Dkt. #40). By that Order, the fact

discovery deadline was reset to November 6, 2020. (Id.).

      On September 30, 2020, Defendants filed a motion for discovery sanctions,

citing Plaintiff’s alleged failure to fulfill her production obligations and the resulting
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delays in the completion of fact discovery. (Dkt. #41). Plaintiff filed a letter in

opposition on October 5, 2020. (Dkt. #42). The Court issued a memorandum

endorsement on October 14, 2020, ordering the parties to be prepared to discuss the

discovery sanctions motion at the next conference scheduled for November 12, 2020,

and inviting the parties to propose modifications to the existing fact discovery

deadline in the meantime. (Dkt. #43). The Court’s intention was to provide Plaintiff

with a final opportunity to comply with her document production obligations and to

sit for a deposition before the Court would consider Defendants’ motion for sanctions.

      Instead, on October 29, 2020, Plaintiff filed a third request for an extension of

all discovery deadlines. (Dkt. #44). Defendants did not consent and filed a response

in opposition the same day. (Dkt. #45). On October 30, 2020, the Court issued a

memorandum endorsement ordering Plaintiff to complete her document production

and appear for her noticed deposition in the month of November but maintaining the

remaining existing discovery deadlines. (Dkt. #46). In effect, the Court granted

Defendants a 30-day extension for the deposition it sought, but denied the same to

Plaintiff, in light of the fact that Plaintiff’s delinquencies had been the principal cause

for the delays.

      Plaintiff then filed a letter requesting an emergency conference (Dkt. #47),

which request the Court granted (Dkt. #48). The Court held that conference by

telephone on November 2, 2020.

      After hearing from the parties, the Court continues to believe that its Order

dated October 30, 2020, was justified and reasonable given Plaintiff’s persistent

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